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17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21         Plaintiff, Counter-defendant              APPLE INC.’S STATEMENT IN SUPPORT
22    v.                                             OF ADMINISTRATIVE MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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1            Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    submits this statement in support of Epic Games, Inc.’s Administrative Motion to Consider Whether

3    Another Party’s Material Should Be Sealed Pursuant to Civil Local Rule 79-5 (Dkt. 1446) (“Epic’s

4    Motion”). Apple respectfully requests that the Court partially seal Exhibits A and B to Epic’s Motion

5    because they contain information sealable under controlling law and Local Rule 79-5. Exhibit A contains

6    personally identifiable information in the form of email addresses of Apple employees. Exhibit A also

7    contains competitively sensitive, non-public information regarding Apple’s internal project codenames,

8    which Apple intends to keep confidential. Exhibit B contains excerpts from Apple’s privilege log

9    prepared for the Special Masters conducting evaluation of the privilege claims stemming from Apple’s

10   re-review. The privilege log entries are required to be filed under the terms of the Joint Stipulation and

11   Order Approving Privilege Re-Review Protocol (Dkt. 1092) (the “Protocol”), but contain personally

12   identifiable information in the form of email addresses of Apple employees and outside counsel, and

13   competitively sensitive, non-public information regarding Apple’s internal project codenames, which

14   Apple intends to keep confidential.

15          Apple accordingly moves to seal portions of Exhibits A and B containing sealable information.

16   Apple’s proposed redactions of Exhibits A and B are indicated in the redacted versions filed with this

17   statement and itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).

18                                            LEGAL STANDARD

19          “The court may, for good cause, issue an order to protect a party or person from annoyance,

20   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of

21   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials

22   for many types of information, including, but not limited to, trade secrets or other confidential research,

23   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th

24   Cir. 2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172,

25   1178 (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing

26   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216,
27   at *1 (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the

28   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)


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1    (granting request to seal “internal product codenames” and noting that a prior request for the same had

2    also been granted). Courts often find good cause exists to seal personally identifiable information. See,

3    e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion

4    to file under seal personally identifiable information, including email addresses and telephone numbers

5    of current and former employees).

6           Although a party must show compelling circumstances to seal information appended to

7    dispositive motions, the standard for non-dispositive motions is simply “good cause.” In re Anthem, Inc.

8    Data Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

9    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

10   Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

11   should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

12   Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

13   Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

14   seal “because the request is narrowly tailored and only includes confidential information”).

15                                               DISCUSSION

16          Apple seeks to seal personally identifiable information and competitively sensitive, non-public

17   project codenames in the exhibits to Epic’s Motion. See Perry Decl. ¶ 5.

18          Epic’s administrative motion to seal is subject to the “good cause” standard because it concerns

19   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public

20   has less of a need for access to court records attached only to non-dispositive motions because those

21   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.

22   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning

23   discovery generally are considered nondispositive of the litigation” (citation omitted)); see also In re

24   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018

25   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).

26          Apple’s sealing request meets the good cause standard here. Lamartina v. VMware, Inc., 2024
27   WL 3049450, at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Apple

28   operates in an intensely competitive environment, and thus has taken extensive measures to protect the


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1    confidentiality of its information. See Perry Decl. ¶ 3. Courts in this district have found not only good

2    cause, but compelling reasons exist to seal personally identifiable information, like that found in Exhibits

3    A and B. See Snapkeys, 2021 WL 1951250, at *3 (granting motion to file under seal personally

4    identifiable information, including email addresses and telephone numbers of current and former

5    employees); see also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding

6    compelling reasons to seal personally identifying information of employees, including names, addresses,

7    phone numbers, and email addresses). Disclosure of the sealed information in Exhibits A and B relating

8    to non-public confidential project codenames could harm Apple’s business interests or aid bad actor

9    third parties in harming Apple. Id. ¶ 5; see also Williams v. Apple, Inc., No. 19-CV-04700-LHK, 2021

10   WL 2476916, at *4 (N.D. Cal. June 17, 2021) (finding compelling reasons to seal internal Apple business

11   plans, projects, and trade secrets that “would provide competitors with insight that they could use to

12   unfairly compete with Apple.” (cleaned up)).

13          Sealing project codenames is necessary here because public disclosure of this information would

14   risk competitors gaining an unfair business advantage by benefiting from Apple’s efforts into program

15   development and proprietary research that Apple intends to keep confidential. See, e.g., Rodriguez v.

16   Google LLC, 2024 WL 42537, at *2 (N.D. Cal. Jan. 3, 2024) (granting sealing of “internal terms” in

17   documents that Google asserted contained “business information that might harm their ‘competitive

18   standing’ or ‘become a vehicle for improper use’” if public); Rodriguez v. Google LLC, 2025 WL 50425,

19   at * 11 (N.D. Cal. Jan. 7, 2025) (finding “compelling reasons” to seal internal code names); Apple Inc.

20   v. Samsung Electronics Co., Ltd., 2013 WL 412864, at *2 (N.D. Cal. Feb. 1, 2013) (granting sealing

21   motion for redactions consisting of “Apple’s confidential CAD designs and internal project code names,”

22   finding that the request was “narrowly tailored to Apple’s proprietary information.”).

23          Apple has narrowly tailored its sealing request to include only the information necessary to

24   protect its and third-party personally identifiable information and confidential business information. See

25   Krommenhock v. Post Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion

26   to seal “limited” information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL
27   2476916, at *2–3 (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored

28   redactions”); Dkt. No. 643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when


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1    redactions were “narrowly tailored” to “sensitive and confidential information”). Apple has only

2    partially redacted limited information in the exhibits. See Perry Decl. ¶ 5.

3           For the foregoing reasons, there is good cause that warrants partially sealing Exhibits A and B to

4    Epic’s Motion.

5                                                    CONCLUSION

6           Apple respectfully requests that the Court seal the information identified in the accompanying

7    declaration.

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9
     Dated: April 16, 2025                                   Respectfully submitted,
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11                                                           By: /s/ Mark A. Perry
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12                                                           WEIL, GOTSHAL & MANGES LLP
13                                                           Attorney for Apple Inc.
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